       Case 23-03141 Document 294-1 Filed in TXSB on 11/08/24 Page 1 of 2




                                        DECLARATION


STATE OF TEXAS   §
                 §
COUNTY OF HARRIS §


       My name is Shahnaz Choudhri, my date of birth is February 24, 1950. I declare under

penalty of perjury that the facts contained therein and as follows are true and correct.

       I have been very ill. I went to the emergency room yesterday to find out what is wrong

with me.    I have an infection which is causing other issues with my body, including my

gastrointestinal system. I am on medication and have been instructed by my doctor to stay home

and away from others so that I do not get worse. I am under doctor’s orders to rest or I will get

worse. A copy of the doctor’s orders is attached. I have told my lawyer that I cannot attend, and

he has had my permission to file the motion to continue my deposition.

       Executed in Harris County, State of Texas on the 8th day of November 2024.



                                                  By:
                                                        Shahnaz Choudhri




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Case 23-03141 Document 294-1 Filed in TXSB on 11/08/24 Page 2 of 2
